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                                                                     DEC 31 2013
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                  IN THE UNITED STATES DISTRICT COU~;                        DBptirjCle(I4
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 CHELSEA MAGEE,

        Plaintiff, 

                                                 Civil Action Number: 

 VS.
                                                 1 :13-cv-01232~ODE    

 AMERICAN SENIOR ASSOCIATION 

 HOLDING GROUP, INC., PHILLIP 

 KENT, and CHRISTOPHER POLK, 


        Defendants.

                                    ORDER


       This case is before the Court for consideration of the Joint Motion for

Approving Sett]ement Agreement and Release. After reviewing the record, the

Court enters the following Order.

       Having reviewed the Settlement Agreement and Release between the parties,

the Court finds that the settlement is fair, adequate, and reasonable. The Court

finds that the Agreement was the result of arms-length negotiations and is not the

result of any collusion.

       Therefore, the Joint Motion for Approving Settlement Agreement and

Release is hereby GRANTED, the settlement of the parties is hereby



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APPROVED. Fees and costs shall be awarded consistent with the terms of the

Settlement Agreement and Release.



     IT IS SO ORDERED, this 31      day ofD.oc:...-   ,2013.




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                 UNITED STATES DISTRICT COURT JUDGE 





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